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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT ILLINOIS
                                      EASTERN DIVISION

 UNITED STATES SECURITIES AND                       )
 EXCHANGE COMMISION,                                )
                                                    )
                            Plaintiff,              )          Case No. 1:10-CV-00115
      v.                                            )
                                                    )          Hon. Robert M. Dow Jr.
 STEVEN W. SALUTRIC,                                )
                                                    )
                            Defendant.              )

                     APPLICATION OF RECEIVER FOR PAYMENT OF
                    ADMINISTRATIVE FEES AND EXPENSES FOR THE
                   PERIOD AUGUST 1, 2010 THROUGH AUGUST 31, 2017

        Ira Bodenstein, the Court appointed Receiver, (the “Receiver”) of Steven W. Salutric,

(“Salutric”) and Celluloid Distribution, LLC (“Celluloid”), pursuant to LR 66.1 and the Billing

Instructions for Receivers in Civil Actions Commenced by the U.S. Securities and Exchange

Commission, (the “Billing Instructions”) moves for the entry of an order authorizing the

administrative fees and expenses incurred for the period of August 1, 2010 through August 31,

2017 (the “Fee Period”) and allowing for the payment thereof as set forth in the Application. In

support of this Application, the Receiver respectfully represents as follows:

                                    I.   FACTUAL BACKGROUND

The SEC’s Allegations Against Salutric

        1.       Salutric is a former investment advisor who used to reside in Carol Stream, Illinois

but is now incarcerated. [Docket No. 1 at ¶ 13.] In 2000, Salutric co-founded the investment

advisory firm Results One Financial, LLC (“Results One”) which, by November 2009, had over

1,000 clients. [Docket No. 1 at ¶¶ 13-14.] Between 2000 and 2009, Salutric managed the

investments of over 100 clients, involving assets of more than $16 million. [Docket No. 1 at ¶ 2.]

Most of Salutric’s clients were individuals and small businesses. [Docket No. 1 at ¶ 2.]




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        2.       The United States Securities and Exchange Commission (the “SEC”) alleges that,

beginning in 2007, Salutric misappropriated several million dollars from approximately 17 of his

clients to support businesses and entities in which Salutric had an interest, and to make payments

to other clients. [Docket No. 1 at ¶¶ 1, 15-31.] Given the magnitude of assets that were under

Salutric’s management and the length of time he had access to those funds, the SEC believes it is

“possible” that Salutric may have misappropriated additional money from different clients.

[Docket No. 1 at ¶ 2.]

        3.       In light of these allegations, the SEC filed the above-captioned civil action pursuant

to the Securities Exchange Act of 1934 (15 U.S.C. § 78j(b)), Rule 10b-5 (17 C.F.R. § 240.10b-5)

and the Investment Advisors Act of 1940 (15 U.S.C. § 80b-6) to enjoin Salutric from violating

those laws, require Salutric to disgorge any ill-gotten gains he received and impose civil penalties.

[Docket No. 1 at ¶¶ 7-8 and pp. 10-11.]

        4.       A few weeks after filing this enforcement action, the SEC moved the Court to

appoint a federal equity receiver. [Docket No. 29.] Salutric did not oppose the appointment of a

receiver, but instead asked the Court to restrict the receiver’s authority. [Docket No. 44.]

        5.       On February 8, 2010, after briefing and a contested hearing, the Court granted the

SEC’s motion and entered an order appointing Mr. Bodenstein to be the federal equity receiver of

Salutric (the “First Receivership Order”). [Docket No. 51.] On July 14, 2010, a Supplemental

Order Appointing Receiver was entered (the “Supplemental Receivership Order”). [Docket No.

111.]

        6.       On January 7, 2011, the Court entered an Order expanding the receivership to

include Celluloid [Docket No. 136].




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        7.       Pursuant to Section III(D) of the Receivership Order, the Receiver is required to

submit an application in conformance with the Billing Instructions for payment of all costs, fees

and expenses incurred by the Receiver and all persons who are engaged or employed by the

Receiver.

        8.       Subsequent to his appointment, the Receiver has administered the assets of the

estate and reported his administration in periodic reports, the most recent one being the Fourteenth

Report of Acts and Transactions filed on April 19, 2017 (the “ Fourteenth Report”) [Docket No.

267].

        9.       During the Fee Period, the Receiver, in compliance with the Receivership Order as

amended and expanded, has taken possession and control of all receivership assets as detailed in

the Fourteenth Report and as of the filing was holding $303,781.54 in the receivership bank

account. Other than the unpaid fees and costs of the Receiver and his counsel, the unpaid fees and

costs of the accountant for the Receiver, and any potential tax liability of the receivership estate,

there are no other administrative expenses of the receivership estate. Attached as Exhibit A is the

standardized Fund Accounting Report for the period of 2/1/2010 through 8/31/2017 which

contains the details of the receipts and disbursements during the Fee Period.

        10.      The Receiver seeks approval of the fees and expenses of only the Receiver’s

counsel for the Fee Period. This is the second interim request of the Receiver. Payment of the

approved fees and expenses will be made from the funds currently held by the Receiver. The fees

and expenses for which approval is requested are set forth in detail in the invoice attached hereto

as Exhibit B.

        11.      For this second interim application, the fees and expenses of the Receiver’s counsel

are as follows: Receiver’s counsel fees of $98,853.30 and out of pocket expenses of $6,652.55.




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During the Fee Period, the Receiver has incurred a total of $102,506.01 in fees and expenses for

his counsel. The Receiver seeks approval of all fees and expenses incurred during the Fee Period,

payable from the funds currently held in the Receivership estate. This amount represents payment

of 100% of the Receiver’s out of pocket expenses and fees of the Receiver’s counsel, incurred

during the Fee Period.

        12.       During the Fee Period, in addition to the fees and expenses of the Receiver’s

counsel, the Receiver expended 342.30 hours of his time in administration of the receivership

estate. The time detail is attached hereto as Exhibit C. At this time, the Receiver is not seeking

any additional compensation for his time. If sufficient funds are available, any additional

compensation requested by the Receiver, including the current holdback in the amount of

$29,717.50 approved in the Receiver’s first interim fee application [Dkt. #121] will remain subject

to further order of this Court.

        13.       During the Fee Period and as set forth in detail in the periodic reports filed by the

Receiver during the Fee Period and Exhibit B, the Receiver and his counsel engaged in legal and

administrative activities relating to the receivership estate, including the following:

               (i.)   Meetings with SEC counsel, counsel for Salutric, counsel for the Results One

                      entities and Carl Amari and his counsel to obtain and review documents and

                      information concerning assets and property of the receivership estate;

              (ii.)   Obtained all records and personal property of Salutric;

            (iii.)    Reviewed thousands of pages of documents to identify potential assets and

                      property of the receivership estate;

              (iv.)   Prepared an inventory and liquidated all assets and property of the receivership

                      estate; and




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                (v.)      Completed a claims verification process, received approval for a distribution

                          and disbursed $153,781.54 to Claimants with allowed claims.

          14.          The Receiver has completed the claims verification process and filed his Motion

for Approval of proposed Distribution Plan under which the Receiver proposed to distribute

$153,781.54 [Dkt. No. 269] on August 11, 2017.

          15.          On August 28, 2017, the court entered an Order approving the Receiver’s

Distribution Plan [Dkt. #272]. The Receiver has distributed the amount of $153,781.54 and filed

his Report of Distribution on August 30, 2017 [Dkt. No. 273].

          16.          The Receiver is currently holding $150,000 in the receivership bank account which

is available to pay the requested fees and expenses of Receiver’s counsel.

          17.          After payment of the requested fees and expenses, the Receiver will hold

$47,493.99 to fund the remaining administrative fees and costs of closing out the receivership

estate.

          18.            Pursuant to LR 66.1(a)(1), the court shall have discretion to fix the allowance of

          compensation of the Receiver and his attorneys. The Receiver has served all parties who

          have filed appearances in this case and all claimants who filed proofs of claim with a copy

          of the Motion and all Exhibits by electronic mail through the court noticing system and

          U.S. Mail (without exhibits). The Receiver believes that under the circumstances such

          notice is sufficient.

          18.          In support of this Motion and in compliance with the Billing Instructions the

Certification of the Receiver is attached hereto as Exhibit D.

          19.          In light of the extensive work performed, it is respectfully submitted that the fees

and expenses of the Receiver’s counsel are reasonable and should be approved as set forth herein.




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        WHEREFORE, the Receiver prays that this court enter an Order as follows:

                 1.         Approving and confirming for payment, the fees and expenses of the

        Receiver’s counsel in the amount of $102,506.01.

                 2.         Authorizing the Receiver to pay $102,506.01 from the funds in the

        receivership estate.

                 3.         Approving the procedure for notice by serving all parties who have

        appeared in this case through the courts electronic noticing system and U.S. Mail.

                 4.         For such other and further relief as the Court may deem just and proper.


 Dated: October 13, 2017                               Respectfully submitted,

                                                       IRA BODENSTEIN, not individually, but
                                                       solely as Receiver of Steven W. Salutric and
                                                       Celluloid Distribution LLC


                                                       /s/Ira Bodenstein
                                                       One of his attorneys
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